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cLER ' U_s. ms_rmc:gl|:un Eastern DIVI.
PETER sEDAT - 060\'4877
° ZNlA
15147 s. oeoffrey = JUDG'E GU E vALDE¢l
oak roresr, iL 60452 = MAG\STRATE JUDG

Plaintifi
vs. - `
q 'ZLIRY TRlAL DEMANDED
NATIONAL RAlLROADQ¢_M

PASSENGER CORPORATlOl\`l~ a
210 S. Canal Street
Chicago, lL 60606 ` _
Defendant : NO.

COMPLA|NT
i. The Plaintiff, Peter Sedat, is a competent adult individual residing at 15147 S.

Geoffrey, Oak Forest, ll|inois 60452.

2. The Defendant, Nationa| Railroad Passenger Corporation is a corporation
organized and existing under the laws of the District of Columbia, doing business at and
whose address for service of process is 210 S. Canal Street, Chicago, lllinois 60606,

3. This suit is brought pursuant to an Act of Congress known as the Federal
Employers' Liability Act, 45 U.S.C. §§51-60; the Federal Safety App|iance Acts, 45 U.S.C.
§§l-lé; and the Boi|er lnspection Acts, 45 U.S.C.§§22~34.

4. At all times material hereto, the Defendant, Nationa| Rai|road Passenger
Corporation, was engaged in interstate commerce as a common carrier by railroad operating
a line and system of railroads in the State of l||inois and other states of the United States.

5. At the time and place hereinafter mentioned, the acts of omission and

commission causing injuries to the Plaintiff was done by the Defendant, its agents, sewants,

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workmen and/or employees acting in the course and scope of their employment with and
under the direct and exclusive control of the Defendant.

6. At the time and place hereinafter mentioned, the P|aintiff Was employed by
Defendant railroad and was acting in the scope of his employment by the Defendant and Was
engaged in the furtherance of interstate commerce within the meaning of the FELA.

7. A|| the property, equipment and operations involved in this occurrence
hereinafter referred to were owned and/or under the direct and exclusive control of the
Defendant, its agents, servants, workmen and/or employees.

8. The Plaintiff has been employed by the Defendant from November 1975
through and including the present as an electrician/supervisor, and, while working within the
scope of his employment at the 16th Street Yard, in Chicago, l||inois was exposed to
excessive and harmful cumulative trauma to his knees due to repetitive crawling, climbing
in/out of rail cars and walking on ballast, with which he performed his work for the
Defendant.

9. Less than three years before this action was iiled, Plaintiff discovered that he
suffered from occupational injuries as a result of repetitive occupational trauma to his l<nees,
which required arthl'oscopic surgery and partial right knee replacement, and until such time,
Plaintiff was reasonably ignorant as to same.

lO. The injuries and disabilities of the P|aintiff were caused and/or contributed to

by the exposure to excessive repetitive trauma to his knees while working for the Defendant.

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l l. The aforesaid injuries Were caused and/or contributed to in whole or in part

by the negligence, carelessness and recklessness of the Defendant, its agents, servants,

workmen and/or employees, acting within the scope of their employment, which negligence

consisted of the following:

(a)

(f)

in failing to provide the Plaintiff with a safe place to work as
required by the Federal Employers l.iabi|ity Act, 45 U.S.C. §§51-60;
in failing to provide Plaintiff with timely and adequate ergonomics
program to prevent repetitive trauma to his knees;

in failing to provide Plaintiff with adequate assistance to safely
perform his assigned task.

in failing to provide Plaintiff with adequate equipment to safely
perform his assigned task.

in failing to periodically test employees such as the P|aintiff for
physical effects of repetitive trauma to the knees; and
failing to take appropriate action, including advising Plaintiff as to the
test results;

in failing to exercise reasonable care to adequately Warn Plaintiff
of the risks, dangers and harm to which they were exposed in

working with and around repetitive trauma to his knees;

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(a)

(|1)

(m)

in negligently requiring and/or allowing the P|aintiff to be exposed

to unsafe levels of repetitive trauma to his knees when it
knew of the risks thereof;

in negligently failing to inspect or monitor the occupational
repetitive trauma in the job duties where the Plaintiff was
required to work;

in negligently failing to warn Plaintiff of the risk of repetitive
trauma injuries as a result of exposure to repetitive occupational
trauma to the knees;

in negligently failing to provide the Plaintiff with protective
equipment designed to protect him from repetitive trauma injuries as a
result of exposure to repetitive occupational trauma to the knees;

in negligently failing to employ safe working practices;

in negligently failing to promulgate, issue, circulate and/or
enforce adequate safety ruies regarding avoiding repetitive trauma
injuries, especially those to the knees;

in negligently failing to modify or eliminate certain job duties,
equipment or practices so as to minimize or eliminate the

cumulative traumas to which the P|aintiff would be exposed.

 

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(n) in negligently failing to make reasonable efforts to ascertain the
risks and hazards of repetitive trauma and repetitive trauma
disorders;

(o) in negligently failing to monitor the Plaintiff's work habits to
determine if his work activities placed him at risk of suffering a
repetitive trauma injury; and,

(p) in negligently failing to use due care and caution required under
the circumstances

l2. As a direct result of the Defendant's negligence, through its agents, servants,
workmen and/or employees, the Plaintiff has been unable to attend to his usual duties and
occupations, all of which caused substantial financial loss, wage loss, loss of future earning
capacity, all of which may and probably will continue in the future.

i3. As a direct result of the Defendant's negligence, throuin its agents, servants,
workmen and/or employees, the Plaintiff has been and may continue to be required to
receive and undergo medical treatment and medical care, has incurred reasonable and
necessary medical expenses, all of which may and probably will continue in the future.

14. As a direct result of the Defendant's negligence, through its agents, servants,
workmen and/or empioyees, the Plaintiff has sustained pain, suffering, inconvenience and a

loss of enjoyment of life and may continue to suffer same for an indefinite period of time in

the future.

 

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i5. As a direct result of the Defendant, its agents, servants, workmen and/or
employees the Plaintiff has sustained permanent injury to his knees.

WHEREFORE, the Plaintiff demands judgment against the Defendant in an amount
in excess of ONE HUNDRED THOUSAND DOLLARS, ($100,000.00).

P|aintiff demands trial by jury.

HANNON &t PALERMO

Dated: September 7, 2006 BY: M

GREGOR(`:]§)MNNGN,`ESQ.
The Public d g. - Suite 1000
150 S. independence Ma!l West
Philadelphia, PA 19106

(888) 222~3352

Attorney for Plaintiff

 

DICKER BI DlCKER

Dated: September 7, 2006 BY: S~ji€u~e-HDA ' wi

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Chicago, lL 60606

(312) 853-3485

Local Counsel for Plaintiff

 

